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                                  17                         IN THE UNITED STATES DISTRICT COURT
                                                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  18                                SAN FRANCISCO DIVISION
                                  19
                                       STRAIGHT PATH IP GROUP, INC.,
                                  20                                            Case No. C 16-03582 WHA
                                                            Plaintiff,
                                  21                                            STATEMENT REGARDING
                                              v.                                APPOINTMENT OF SPECIAL MASTER
                                  22
                                       APPLE INC.,
                                  23
                                                            Defendant.
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                                         Case 3:16-cv-03582-WHA Document 246 Filed 11/25/19 Page 2 of 2




                                   1          Pursuant to the Court’s Order Re Attorney’s Fees and Costs and Appointment of Special

                                   2   Master, Dkt. No. 245, Defendant Apple Inc. hereby states that it has no objection to the

                                   3   appointment of Matt Borden as special master.

                                   4
                                   5   Dated: November 25, 2019
                                                                                    HOGAN LOVELLS US LLP
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                                                                                    By: /s/ Clayton C. James
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                                       STATEMENT RE SPECIAL MASTER
                                       CASE NO. C 16-03582 WHA
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